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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


  BRYAN HANLEY, an individual on behalf of
  himself and all others similarly situated,

             Plaintiff,
                                                            CASE NO. 8:19-CV-00550-CEH-CPT
  v.

  TAMPA          BAY SPORTS       AND
  ENTERTAINMENT LLC, a Delaware limited
  liability company,

             Defendant.


                          FINAL APPROVAL ORDER AND JUDGMENT

            This cause came before the Court on Plaintiff Bryan Hanley’s (“Plaintiff”) Motion for

 Final Approval of Class Action Settlement (Doc. No. 84) and Motion for Attorneys’ Fees, Costs,

 and Service Award (Doc. Nos. 85, 87) (collectively, the “Motions”). The Court has reviewed the

 Motions and the record and has heard oral argument at the final fairness hearing held on April 7,

 2020. No objections have been submitted to the proposed settlement and none were presented at

 the final fairness hearing. The Motions are due to be GRANTED, and final judgment will be

 entered.

       I.      BACKGROUND

            This action concerns the allegations set forth in Plaintiff’s Class Action Complaint, which

 alleged that Defendant Tampa Bay Sports and Entertainment, LLC (“TBSE” or “Defendant”)

 violated the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”) by sending

 marketing text messages to consumers using an automatic telephone dialing system (“ATDS”).

 Specifically, Plaintiff claimed that TBSE promised him the chance to win free hockey tickets by
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 texting a keyword to a five-digit short code telephone number but then began to regularly send

 automated marketing text messages to his cell phone. The Plaintiff claimed that both he and others

 experienced similar conduct and that this violated the TCPA. Defendant denied the factual

 allegations in the case and vehemently denied violating the TCPA with respect to any conduct

 directed at Plaintiff or the class members.

           The parties proceeded to litigate this case, which included discovery, motions to dismiss,

 motions to strike the Plaintiff’s class allegations, and the Plaintiff’s motion for class certification.

           After attending mediation, the parties informed the Court that they entered into a

 Settlement Agreement. After the Settlement Agreement was preliminarily approved and notice

 sent to the Settlement Class Members, a final fairness hearing was held on April 7, 2020. Over

 25,000 claims have been submitted. No objections to the Settlement Agreement were submitted

 or raised at the final fairness hearing.

     II.      DISCUSSION

              a. Class Certification

           Rule 23, Federal Rules of Civil Procedure, governs the requirements and procedures for

 class actions in federal court. There are four prerequisites to a district court’s certification of a

 class under Rule 23, including “numerosity, commonality, typicality, and adequacy of

 representation” of the class, and those prerequisites “are designed to effectively limit class claims

 to those fairly encompassed by the named plaintiffs’ individual claims.” Valley Drug Co. v.

 Geneva Pharm., Inc., 350 F.3d 1181, 1188 (11th Cir. 2003) (internal quotations and citations

 omitted); Fed. R. Civ. P. 23(a)(1)-(4). Numerosity is generally satisfied when there are more than

 forty putative class members. Cox v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir.

 1986). Commonality is satisfied when there is “at least one issue whose resolution will affect all



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 or a significant number of the putative class members.” Williams v. Mohawk Indus., Inc., 568 F.3d

 1350, 1355 (11th Cir. 2009). Typicality is satisfied where there is “a nexus between the class

 representative’s claims or defenses and the common questions of fact or law which unite the class.”

 Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984). Adequacy of

 representation is satisfied when “plaintiffs’ counsel are qualified, experienced, and generally able

 to conduct the proposed litigation,” and when “plaintiffs [do not] have interests antagonistic to

 those of the rest of the class.” Griffin v. Carlin, 755 F.2d 1516, 1533 (11th Cir. 1985).

         Under Fed. R. Civ. P. 23(b)(3), a class action may be maintained if “the court finds that the

 questions of law or fact common to all class members predominate over any questions affecting

 only individual class members, and that a class action is superior to other available methods for

 fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Rule 23(b)(3)

 “requires a showing that questions common to the class predominate, not that those questions will

 be answered, on the merits, in favor of the class.” Carter v. Forjas Taurus, S.A., 701 F. App’x.

 759, 765 (11th Cir. 2017) (per curiam). Importantly, when “[c]onfronted with a request for

 settlement-only class certification, a district court need not inquire whether the case, if tried, would

 present intractable management problems, for the proposal is that there be no trial.” Amchem

 Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997).

         Here, the Court finally certifies Plaintiff’s putative class because the purported class meets

 all of the Rule 23(a) prerequisites and satisfies Rule 23(b)(3). Where, as here, parties reach a class

 action settlement agreement before the putative class is certified, a court must examine whether

 the putative class meets the prerequisites of Rule 23(a) and at least one of the types of classes

 under Rule 23(b). The Court already preliminarily approved the following settlement class in this

 case:



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         All Persons who are users of or subscribers to cell phone numbers that, after a
         keyword was texted to shortcode telephone number 61873, were sent at least
         one SMS text message in connection with the Bolts Text Club through the
         Phizzle text message dialing platform. (ECF No. 82).

 The Court also preliminarily found that certification for purposes of settlement is proper because

 the putative class met all of the Rule 23(a) prerequisites and met the Rule 23(b)(3) requirement

 that a class action is the superior means of resolving this action. Id. Consistent with the Court’s

 preliminary class certification, the Court finally certifies the Settlement Class. First, the putative

 class satisfies the numerosity requirement as there are 182,176 individuals in the class. See Decl.

 of Steven J. Giannotti (Doc. No. 84-1, ¶ 5). Second, commonality is satisfied because the common

 issue of fact as to all class members is whether they received a non-emergency text message using

 an ATDS from TBSE. This common factual question leads to common legal questions, such as

 whether the common facts constitute a violation of the TCPA. Third, typicality is satisfied because

 Plaintiff and the Settlement Class Members all allegedly received some non-emergency text

 messages using an ATDS from TBSE, and the relief that Plaintiff and Settlement Class Members

 would be entitled to consist of statutory damages and are nearly identical. Fourth, adequacy of

 representation is satisfied because Plaintiff’s counsel has demonstrated that it is capable of

 handling complex litigation, including class action lawsuits, and because Plaintiff has no interests

 that are in conflict with the rest of the class. Finally, the Court finds that Rule 23(b)(3) is satisfied

 because the foregoing common questions of fact and law and the large number of putative class

 members demonstrate that a class action is a superior way to vindicate the rights of all putative

 class members than if each member were to litigate their individual TCPA claims. Accordingly,

 the Settlement Class is certified for the purposes of settlement.

             b. Final Approval of Settlement Agreement

                     i. Notice to Settlement Class Members


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        Specifically, “Rule 23(e) ... requires that a settlement or compromise of a class action be

 approved by the district court.” Bennett v. Behring Corp., 737 F. 2d 982, 986 (11th Cir. 1984).

 Rule 23(e) lays out the procedures that a district court must follow before approving a class action

 settlement. Fed. R. Civ. P. 23(e). First, the court must ensure that “notice [is given] in a reasonable

 manner to all class members who would be bound by the proposal.” Fed. R. Civ. P. 23(e)(1). Class

 members must be “given information reasonably necessary to make a decision [whether] to remain

 a class member and be bound by the final judgment or opt out of the action.” Fought v. Am. Home

 Shield Corp., 668 F.3d 1233, 1239 (11th Cir. 2011). In an action certified under Rule 23(b)(3),

 “class members should receive ‘the best notice that is practicable under the circumstances.’”

 Saccoccio v. JP Morgan Chase Bank, N.A., 297 F.R.D. 683, 691 (S.D. Fla. 2014) (quoting Fed. R.

 Civ. P. 23(c)(2)(B)). A claim process that involves “completing a one-page form and submitting

 it either online or by mail” is not “particularly difficult or burdensome.” Poertner v. Gillette Co.,

 618 F. App’x 624, 628 (11th Cir. 2015) (per curiam).

        After the class was certified for the purpose of settlement, the Settlement Administrator

 reviewed data files containing 182,176 unique affected phone numbers. See Decl. of Steven J.

 Giannotti (Doc. No. 84-1, ¶ 5). Of the Settlement Class Members, the Settlement Administrator

 identified 168,875 records of potential members of the Settlement Class that had a mailing address

 and mailed notice of the settlement to each of them. Id. at ¶¶ 5, 8-9. In addition, the Settlement

 Administrator obtained email addresses and sent notice via email to 129,379 Settlement Class

 Members. Id. at ¶¶ 5-7.

        To reach more of the Settlement Class, the Settlement Administrator printed notifications

 in the Tampa Bay Times for four consecutive weeks and set up a settlement website to allow

 Settlement Class Members to submit claims electronically. Id. at ¶¶ 10-13. In addition, a toll-free



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 number was established to ensure that any frequently raised questions can be addressed. Id. ¶ 14.

 Last, the Tampa Bay news media ran a story about the Settlement, featuring it in one of its Friday

 night broadcasts and explaining the claims process. See https://www.wfla.com/8-on-your-

 side/tampa-bay-lightning-fans-could-receive-settlement-following-class-action-lawsuit/.

          As of March 30, 2020, 25,878 Settlement Class Members filed a claim and only eight

 timely requested to be excluded from the class. No Settlement Class Members objected. See Decl.

 Steven J. Giannotti (Doc. No. 91 ¶¶ 4-6). The Court finds that notice to the class was reasonable

 and the best notice practicable under the circumstances, consistent with Rule 23(e)(1) and Rule

 23(c)(2)(B).

                    ii. The Settlement Agreement

        Second, a “court may approve [a settlement agreement] only after a hearing and on finding

 that it is fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e). To finally approve a class-action

 settlement agreement, a court must find that:

                [T]here was no fraud or collusion in arriving at the settlement and
                that the settlement was fair, adequate and reasonable, considering
                (1) the likelihood of success at trial; (2) the range of possible
                recovery; (3) the point on or below the range of possible recovery at
                which a settlement is fair, adequate, and reasonable; (4) the
                complexity, expense and duration of litigation; (5) the substance and
                amount of opposition to the settlement; and (6) the stage of
                proceedings at which the settlement was achieved.
 Bennett, 737 F.2d at 986. In addition, “[d]etermining the fairness of the settlement is left to the

 sound discretion of the trial court and [an appellate court] will not overturn the court’s decision

 absent a clear showing of abuse of discretion.” Id. Generally, “the district court ‘should be hesitant

 to substitute its own judgment for that of counsel.’” Nelson v. Mead Johnson & Johnson Co., 484

 F. App’x 429, 434 (11th Cir. 2012) (quoting Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir.

 1977)). “There exists ‘an overriding public interest in favor of settlement, particularly in class


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 actions that have the well-deserved reputation as being the most complex.’” Lipuma v. Am. Express

 Co., 406 F. Supp. 2d 1298, 1314 (S.D. Fla. 2005) (internal quotations and citations omitted).


                             1. No Fraud or Collusion

         First, the settlement here does not appear to be the product of collusion. “Where the parties

 have negotiated at arm’s length, the Court should find that the settlement is not the product of

 collusion.” Saccoccio, 297 F.R.D. at 692. Here, the parties aggressively litigated this case and

 participated in a full day mediation session in front of a well-respected mediator, and only after

 continued settlement discussions following mediation did they reach terms on a proposed class

 settlement. Accordingly, the Court finds that the Settlement Agreement was the result of those

 discussions and arms-length negotiations and there was no fraud or collusion in arriving at the

 settlement.


                             2. Likelihood of Success at Trial

         Plaintiff’s likelihood of success at trial is not only the first Bennett factor, it is also ‘by far

 the most important factor’ in evaluating a class action settlement.” Figueroa, 517 F. Supp. 2d at

 1323 (citation omitted). Here, Plaintiff’s likelihood of success at trial is far from certain. Plaintiff

 alleged that TBSE violated the TCPA when it sent him unwanted marketing messages. But whether

 TBSE’s conduct violated the TCPA is an open question given that the technology TBSE used may

 or may not constitute an ATDS. In fact, a recent opinion by the Eleventh Circuit Court of Appeals

 has suggested a narrow interpretation of what constitutes an ATDS, thus limiting Plaintiff’s ability

 to demonstrate that TBSE utilized such equipment. See Glasser v. Hilton Grand Vacations Co.,

 LLC, 948 F. 3d 1301 (11th Cir. 2020); see also Northrup v. Innov. Health Ins. Partners, LLC, No.

 8:17-cv-1890-T-36JSS, 2020 WL 906199 (M.D. Fla. Feb. 25, 2020).

         Besides the upcoming challenge in demonstrating TBSE’s use of an ATDS, Plaintiff also


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 would have been required to overcome TBSE’s constitutional challenge to the TCPA, survive

 summary judgment briefing, succeed at trial, and surely continue to advance his positions through

 appellate litigation.

         The uncertain path to a recovery suggests that the Settlement Agreement may represent the

 better alternative for Plaintiff and the class versus continued litigation.

                            3. The Point Where a Settlement is Fair, Adequate, and Reasonable

         “The second and third considerations of the Bennett test are easily combined. A court first

 determines the range of recovery by resolving various damages issues. The court then determines

 where in this range of possible recovery do fair, adequate, and reasonable settlements lie.” Behrens

 v. Wometco Enterprises, Inc., 118 F.R.D. 534, 541 (S.D. Fla. 1988). “The range of possible

 recovery spans from a finding of non-liability to a varying range of monetary and injunctive relief.

 In considering the question of a possible recovery, the focus is on the possible recovery at trial.”

 Saccoccio, 297 F.R.D. at 693 (internal quotations and citations omitted). “A settlement can be

 satisfying even if it amounts to a hundredth or even a thousandth of a single percent of the potential

 recovery.” Behrens, 118 F.R.D. at 542.

         Here, the Court has already found that “the Settlement is within the range of

 reasonableness.” (Doc. No. 82 at 7). Nothing has changed to alter this finding.

                            4. Complexity, Expense, and Duration of the Litigation

         As discussed above, the issues raised in this case are both novel and complex. The Parties

 represent that this was hard fought litigation, that significant time and energy has already been

 expended by the parties, and the record reflects this. In addition, the Parties have made it clear that

 regardless of which party prevailed, the opposing party would likely continue to appeal and litigate

 this matter given the novel issues of law presented. Thus, given the novel and complex issues



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 presented in this litigation, the substantial expenses already incurred by the parties, and the

 potential for expensive and time-consuming litigation absent a settlement, this factor weighs in

 favor of approving the Settlement Agreement.

                             5. Substance and Amount of Opposition to the Settlement

         “The reaction of the class [to the settlement] is an important factor.” Saccoccio, 297 F.R.D.

 at 694 (internal quotations and citations omitted). Here, there were no objections filed to the

 settlement agreement and only eight have timely opted out. See Decl. Steven J. Giannotti (Doc.

 No. 91 ¶¶ 4-6). Further, 25,878 claims have been submitted under the Settlement Agreement. Id.

 This lack of opposition and Settlement Class Member support weigh strongly in favor of the

 Court’s approval of the Settlement Agreement.

                             6. Stage at Which Settlement is Reached

         “The stage of the proceedings at which settlement is achieved is ‘evaluated to ensure that

 Plaintiffs had access to sufficient information to adequately evaluate the merits of the case and

 weigh the benefits of settlement against further litigation.’” Saccoccio, 297 F.R.D. at 694 (citations

 omitted). In addition, “[e]arly settlements are favored” such that “vast formal discovery need not

 be taken.” Id. (citations omitted).

         While the parties settled relatively early in the litigation, before plaintiff’s putative class

 was certified, both Plaintiff and TBSE had sufficient information to adequately evaluate the merits

 of the case and to weigh the benefits of continuing to litigate this matter. After fully briefing issues

 relating to the TCPA’s constitutionality, class certification, and Plaintiff’s review of more than

 10,000 pages of discovery materials, the parties decided to quickly and amicably address the

 underlying and likely dispositive issues in the case. This led to an all-day mediation before a

 respected mediator and was followed by numerous weeks of continued settlement discussions that



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  finally led to a settlement in principle, and which was followed by confirmatory discovery.

  Accordingly, the stage at which settlement was reached between the parties and the extent to which

  the parties were informed about the merits of their claims and defenses weighs in favor of

  approving the Settlement Agreement. The Court finds the Settlement Agreement to be a fair,

  adequate, and reasonable resolution of the class members’ claims and approves the Settlement

  Agreement.

     III.      ATTORNEYS’ FEES, COSTS, AND CLASS REPRESENTATIVE AWARD

               a. Attorneys’ Fees and Costs

            In Plaintiff’s Motion for Attorneys’ Fees, Costs, and Service Award, Plaintiff’s counsel

  requests $787,500.00 in attorneys’ fees and to recover $27,452.47 in costs and expenses. (Doc.

  NO. 85, 87). Because this is not a coupon settlement and the Settlement Class Members will

  receive direct cash distributions, the Court does not calculate reasonable attorneys’ fees pursuant

  to the provisions of 28 U.S.C. § 1712. Instead, to determine attorneys’ fees “in a case involving a

  class action settlement that created a reversionary common fund, [the Eleventh Circuit] held that

  ‘attorneys’ fees awarded from a common fund shall be based upon a reasonable percentage of the

  fund established for the benefit of the class.’” Poertner, 618 F. App’x at 628 (quoting Camden I

  Condo. Ass’n v. Dunkle, 946 F.2d 768, 770, 774-75 (11th Cir. 1991)). “The percentage applies to

  the total fund created, even where the actual payout following the claims process is lower.” Pinto

  v. Princess Cruise Lines, Ltd., 513 F. Supp. 2d 1334, 1339 (S.D. Fla. 2007) (citing Waters v. Int’l

  Precious Metals Corp., 190 F.3d 1291, 1295-96 (11th Cir. 1999)); see also Montoya v. PNC Bank,

  N.A., No. 14-20474 2016 WL 1529902, *23 (S.D. Fla. Apr. 14, 2016) (“the valuation of counsel’s

  fee should be based on the opportunity created for the Settlement Class … [a]nd counsel should

  not be penalized for class members’ failure to take advantage of such a settlement”); see also Los



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  Santos v. Millward Brown, Inc., No. 13-cv-80670-DPG, 2015 WL 11438497 (S.D. Fla. Sept. 11,

  2015) (Gayles, J.) (Doc. Nos. 82, 84) (approving $2,750,000 in attorneys’ fees where, at time Class

  Counsel moved for fees 7,599 class members had submitted claim forms for $50 each for a

  distribution totaling only $379,950).

         When determining counsels’ fees in a common fund context, “no case has held that a

  district court must consider only the actual payout in determining attorneys’ fees.” Carter v. Forjas

  Taurus, S.A., 701 Fed. Appx. 759, 767 (11th Cir. 2017) (citing Waters v. Int’l Precious Metals

  Corp., 190 F.3d 1291, 1295 (11th Cir. 1999)). Various federal appellate courts, on the other hand,

  have ruled that it is an abuse of discretion to base fee awards only on the class members’ claims

  made rather than a percentage of the entire fund available to the class. See Williams v. MGM-Pathe

  Comm’s. Co., 129 F.3d 1026, 1027 (9th Cir. 1997) (reversing district court for basing fee award

  only on claimed portion of common fund); Masters v. Wilhelmina Model Agency, Inc., 473 F.3d

  423, 437 (2d Cir. 2007) (same); see also Boeing Co. v. Van Gemert, 444 U.S. 472 (1980).

         Although “[t]here is no hard and fast rule mandating a certain percentage of a common

  fund which may reasonably be awarded as a fee,” In re Sunbeam: Securities Litigation, 176 F.

  Supp. 2d at 1333 (quoting Camden I, 946 F.2d at 774), an award of one-third of the common fund

  is “consistent with the trend in this Circuit.” Reyes, No. 10-20837-CIV-MGC (Doc. No. 196 at 6).

         Indeed, district courts in the Eleventh Circuit routinely approve fee awards of one-third of

  the common settlement fund. See, e.g., Wolff v. Cash 4 Titles, No. 03-cv-22778, 2012 WL

  5290155, at *6 (S.D. Fla. Sept. 26, 2012) (collecting cases and concluding that 33% is consistent

  with the market rate in class actions); Waters v. Int’l Precious Metals Corp., 190 F.3d 1291, 1295–

  96 (11th Cir. 1999) (affirming attorneys’ fee award of 33.3% to class counsel). Fee awards,

  however, “must be determined upon the facts of each case,” and the Eleventh Circuit has indicated



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  that “an upper limit of 50% of the fund may be stated as a general rule, although even larger

  percentages have been awarded.” Camden I, 946 F. 2d at 774-75. In this case, considering the

  complexity of the case, the result achieved, and the Settlement Class’ favorable reaction to the

  Settlement, a fee award of $787,500.00, which represents a slight increase from the one-third

  benchmark, is reasonable.

             b. Class Counsels’ Cost Award

         Class Counsel seeks reimbursement of $27,452.47 in costs expended in connection with

  the prosecution of the case. Courts typically allow counsel to recover their reasonable out-of-

  pocket expenses. Indeed, courts normally grant expense requests in common fund cases as a matter

  of course. See Flaum v. Doctor’s Assoc., Inc., Case No. 16-61198-CIV (S.D. Fla. March 11, 2019)

  (Doc. No 175, slip op. at 15) (approving costs to Class Counsel); see also Dowdell v. City of

  Apopka, 698 F.2d 1181, 1191-92 (11th Cir. 1983) (“[W]ith the exception of routine office

  overhead normally absorbed by the practicing attorney, all reasonable expenses incurred in case

  preparation, during the course of litigation, or as an aspect of settlement of the case may be taxed

  as costs under section 1988.”). Class Counsel submitted its Declaration in support of its request,

  which included a line item breakdown of actual costs incurred. (Doc. No. 85-1). Moreover, the

  costs and expenses equated to approximately 1.2% of the settlement fund and is considered in line

  with normal expenditure amounts as a percentage of the total recovery amount. See In re IMAX

  Secs. Litig., 2012 WL 3133476, at *6 (S.D.N.Y. Aug. 1, 2012) (listing cases approving costs and

  expenses totaling approximately 2% of the settlement funds); see also James v. JPMorgan Chase

  Bank, N.A., 2017 WL 2472499, *2 (M.D. Fla. June 5, 2017) (approving recovery of mediation,

  travel, and other expenses incurred in connection with the matter).

         Consistent with the foregoing, the Court determines that Class Counsel may recover its



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  actual costs incurred in the amount of $27,452.47.

             c. Class Representative Award

          Plaintiff requests a $10,000 incentive payment for Plaintiff as the Class Representative.

  “Incentive awards are not uncommon in class action litigation ... [which] compensate named

  plaintiffs for the services they provided and the risks they incurred during the course of the class

  action litigation.” Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1218 (S.D. Fla.

  2006). “[T]he Eleventh Circuit has not expressly set forth guidelines for courts to use in

  determining incentive awards, [but] there is ample precedent for awarding incentive compensation

  to class representatives.” Id. In Allapattah, the court focused on the fact that “[t]his is not a case

  where lawyers inappropriately recruit plaintiffs to serve as ‘figureheads’ for suits the lawyers

  themselves want to file and settle” in granting an incentive award to class representative. Id. at

  1220.

          Here, Plaintiff’s counsel represents that Plaintiff: (1) provided information, including

  cellular telephone records and screenshots of his cellular telephone, to Class Counsel for preparing

  the complaint and other filings; (2) reviewed pleadings and filings; (3) communicated on a regular

  basis with Class Counsel to stay apprised of the progress of the litigation and settlement

  negotiations; and (4) reviewed and approved the Settlement Agreement. At the Final Fairness

  Hearing, Plaintiff’s counsel also represented that this case was Plaintiff’s first time as a class

  representative, and that Plaintiff was motivated to file suit in this case because he repeatedly

  received the advertisement text messages at issue in this case. The Court finds that the requested

  service award is reasonable and awards Plaintiff a $10,000 incentive payment as Class

  Representative. See, e.g., Benzion v. Vivint, Inc., No. 12-61826 (S.D. Fla. Feb. 23, 2015) (ECF No.

  201) (awarding $20,000 incentive award in TCPA class settlement); Desai v. ADT Security Servs.,



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  Inc., No. 11-1925 (N.D. Ill. Feb. 27, 2013) (Doc. No. 243) (awarding $30,000 incentive awards in

  TCPA class settlement); see also Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185,

  1218-19 (S.D. Fla. 2006) (collecting cases); In re Dun & Bradstreet Credit Servs. Customer Litig.,

  130 F.R.D. 366, 374 (S.D. Ohio 1990) (awarding two incentive awards of $55,000 and three

  incentive awards of $35,000); Bogosian v. Gulf Oil Corp., 621 F. Supp. 27, 32 (E.D. Pa. 1985)

  (awarding incentive awards of $20,000 to each of two plaintiffs). Accordingly, it is hereby

  ORDERED AND ADJUDGED:

     1. This Final Approval Order and Judgment incorporates by reference the definitions in the

         Settlement Agreement (Doc. No. 78-1), and all capitalized terms used herein shall have the

         same meanings as set forth in the Settlement Agreement unless otherwise set forth in this

         Order.

     2. The Court has personal jurisdiction over the Parties, all Settlement Class Members, and the

         claims asserted in this Action, as well as subject matter jurisdiction to approve the

         Settlement Agreement.

     3. On January 7, 2020, the Court preliminarily approved the Settlement Agreement by

         entering the Order Granting Preliminary Approval of Class Action Settlement Agreement

         (Doc. No. 82), and notice was given to all Settlement Class Members.

     4. The Court finds, pursuant to Federal Rule of Civil Procedure 23(e), that the settlement of

         this Action pursuant to the terms of the Settlement Agreement is, and is finally approved

         to be, a fair, reasonable, and adequate settlement in the best interests of the Settlement

         Class, in light of the factual, legal, practical, and procedural considerations raised in this

         Action.

     5. The Settlement Agreement was entered in good faith following informed, arm’s length



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        negotiations conducted by experienced counsel with the assistance of a well-respected

        mediator, and is non-collusive.

     6. Certification for purposes of settlement is proper because (a) the Settlement Class is so

        numerous that joinder of all members is impractical; (b) there are questions of law and fact

        common to the Settlement Class, which predominate over any questions affecting only

        individual members; (c) Plaintiff’s claims are typical of the claims of the Settlement Class;

        (d) Plaintiff and his attorneys fairly and adequately protect the interests of the Settlement

        Class; and (e) a class action is the superior means of resolving this Action.

     7. In light of the above findings, and solely for purposes of the Settlement, the Court

        CERTIFIES this Action as a class action pursuant to Federal Rule of Civil Procedure

        23(b)(3). The Settlement Class is defined as:

        All Persons who are users of or subscribers to cell phone numbers that, after a
        keyword was texted to shortcode telephone number 61873, were sent at least
        one SMS text message in connection with the Bolts Text Club through the
        Phizzle text message dialing platform.

     8. The Court APPOINTS Plaintiff Bryan Hanley as the Class Representative of the

        Settlement Class pursuant to Federal Rule of Civil Procedure 23(a).

     9. The Court APPOINTS Plaintiff’s attorneys, David P. Milian and Ruben Conitzer of the

        law firm Carey Rodriguez Milian Gonya LLP, as Class Counsel pursuant to Federal Rule

        of Civil Procedure 23(g), who it deems are suitable and competent counsel.

     10. The Court finds that Class Notice provided to the Settlement Class (1) constitutes the best

        notice practicable under the circumstances; (2) constitutes notice that is reasonably

        calculated, under the circumstances, to apprise the Settlement Class of the pendency of the

        Action, their right to object to or exclude themselves from the proposed Settlement

        Agreement, and to appear at the Final Approval Hearing; (3) is reasonable and constitutes


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        due, adequate, and sufficient notice to all persons entitled to receive notice; and (4) meets

        all applicable requirements of the Federal Rules of Civil Procedure, the Due Process Clause

        of the United States Constitution, and the rules of the Court.

     11. Notice has been provided to the appropriate state and federal officials in accordance with

        the requirements of the Class Action Fairness Act (28 U.S.C. § 1715).

     12. No objections to the Settlement Agreement or its preliminary approval were timely

        received.

     13. Eight individuals timely and validly requested exclusion from the Settlement Class and the

        Settlement Agreement, and thus they are excluded from both. Those eight individuals are

        not named herein, but records of their exclusion have been and shall continue to be

        maintained by the Settlement Administrator and Class Counsel.

     14. After due consideration of, among other things, (a) the uncertainty about the likelihood of

        the Settlement Class’s ultimate success on the merits; (b) the range of the Settlement

        Class’s possible recovery; (c) the complexity, expense, and duration of the litigation; (d)

        the substance and amount of opposition to the Settlement Agreement; (e) the state of

        proceedings at which the Settlement Agreement was achieved; (f) all written submissions,

        declarations, and arguments of counsel; and after notice and hearing, the Court finds that

        the settlement terms fall within the range of settlement terms that would be considered fair,

        adequate, and reasonable. Accordingly, this Settlement Agreement should be and is

        APPROVED, and shall govern all issues regarding the settlement and all rights of the

        Parties and the Settlement Class Members thereunder.

     15. Defendant TBSE shall make the required payments, in accordance with the amounts and

        at the times set forth in the Settlement Agreement, to fund the Settlement Fund, out of



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        which all payments shall be made: (a) all payments to Settlement Class Members who

        submit an Approved Claim; (b) the Plaintiff’s incentive award; (c) attorneys’ fees and costs

        to Class Counsel; and (d) Settlement Administration Costs.

     16. Approved Claimants shall be paid cash awards in the amounts and in the manner set forth

        in the Settlement Agreement.

     17. The Court APPROVES a $10,000 Incentive Award to Plaintiff for his role as Class

        Representative. The Court finds this Incentive Award to be reasonable in light of the Class

        Representative’s willingness and efforts with respect to taking on the risks of litigation and

        helping achieve the results to be made available to the Settlement Class. This amount shall

        be paid by TBSE in the manner set forth in the Settlement Agreement.

     18. The Court APPROVES an award of attorneys’ fees to Class Counsel in the total amount

        of $787,500. This amount shall be paid by TBSE in the manner set forth in the Settlement

        Agreement.

     19. The Court APPROVES a recovery of costs incurred by Class Counsel in the total amount

        of $27,452.47. This amount shall be paid by TBSE in the manner set forth in the Settlement

        Agreement.

     20. The Court expressly adopts and incorporates herein all of the terms of the Settlement

        Agreement and authorizes and directs implementation and performance of all the terms and

        provisions of the Settlement Agreement, as well as the terms and provisions hereof. The

        Parties to the Settlement Agreement shall carry out their respective obligations under that

        Agreement.

     21. This Action is DISMISSED WITH PREJUDICE and without taxable costs to any Party,

        and judgment is entered in accordance with this Order and the Settlement Agreement.



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     22. Each Settlement Class Member shall be bound by the Settlement Agreement, and this Final

        Approval Order and Judgment, and are deemed to have fully, finally, and forever released,

        relinquished and discharged all Released Claims against the Released Parties, and each of

        them. “Released Claims” are defined as:

               any and all actual, potential, filed, known or unknown, fixed or
               contingent, claimed or unclaimed, suspected or unsuspected, claims,
               demands, liabilities, rights, causes of action, contracts or
               agreements, extra contractual claims, damages, punitive, exemplary
               or multiplied damages, expenses, costs, attorneys’ fees and or
               obligations (including “Unknown Claims,” as defined in the
               Settlement Agreement), whether in law or in equity, accrued or un-
               accrued, direct, individual or representative, of every nature and
               description whatsoever, based on the Telephone Consumer
               Protection Act, 47 U.S.C. § 227, et. seq. or other state, federal, local,
               statutory or common law or any other law, rule or regulation, against
               the Released Parties, or any of them, arising out of any facts,
               transactions, events, matters, occurrences, acts, disclosures,
               statements, representations, omissions or failures to act regarding
               the alleged sending text messages to the Settlement Class Members,
               including but not limited to all claims that were brought or could
               have been brought in the Action relating to any and all Releasing
               Parties.


     23. Settlement Class Members who have not been properly excluded from the

        Settlement Class are hereby permanently barred and enjoined from filing,

        commencing, prosecuting, intervening in, or participating in (as class members or

        otherwise), any lawsuit or other action in any jurisdiction based on the Released

        Claims.

     24. Should the Settlement Agreement be terminated under its terms, or the Effective

        Date not occur, then any and all orders entered pursuant to the Settlement

        Agreement shall be deemed vacated, and this Final Approval Order shall be void

        and deemed vacated.



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     25. The Court retains jurisdiction, for one year from the date of this Order, over this

         Action, the Parties, and the Settlement Class Members, to determine all matters

         relating in any way to this Final Approval Order, the Order Granting Preliminary

         Approval of Class Action Settlement Agreement, and the Settlement Agreement,

         including, but not limited to, their administration, implementation, interpretation,

         or enforcement.

     26. Plaintiff’s Motion for Final Approval of Class Action Settlement (Doc. No. 84) is

         GRANTED.

     27. Plaintiff’s Motion for Attorneys’ Fees, Costs, and Service Award (Doc. Nos. 85,

         87) is GRANTED.

     28. The Clerk of Court is directed to CLOSE THIS CASE and terminate all other

         pending motions as MOOT.

         DONE AND ORDERED in Chambers in Tampa, Florida, this 23rd day of April

         2020.




  Copies furnished to:
  All parties of record including unrepresented parties, if any




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